    Case 2:09-cr-00177-ILRL-ALC               Document 174          Filed 05/25/10       Page 1 of 3




                              UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                                   CRIMINAL ACTION

VERSUS                                                                     NO. 09-177

DALTON BENNETT, ET AL.                                                     SECTION “N”



                                      ORDER AND REASONS

        Before the Court is the Government’s Motion in Limine to Determine Admissibility of

Expert Testimony (Rec. Doc. 147). This motion is opposed.1 (See Rec. Doc. 152). In this motion,

the Government requests a pre-trial hearing to determine whether Defendant Lance Bennett’s expert

witness testimony is relevant or admissible under Rule 702 of the Federal Rules of Evidence.

After considering the memoranda of counsel and the applicable law,

        IT IS ORDERED that the Government’s Motion in Limine to Determine

Admissibility of Expert Testimony (Rec. Doc. 147) is GRANTED in the following respect, for

substantially the same reasons set forth by the Government in the instant motion. Specifically,

this Court agrees that no meaningful description of the expected testimony of Defendant’s

experts Robert Leonard and Freddy Cleveland has been provided. No specific opinion is stated,


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                 Defendants argue simply that their experts’ “opinions” are just as descriptive (or non-
descriptive) as the Government’s disclosure. The Court disagrees.
    Case 2:09-cr-00177-ILRL-ALC           Document 174        Filed 05/25/10      Page 2 of 3




nor is any basis for such an opinion (whatever that may be) provided. For instance, Bennett

states that the opinions are that “Jackson (Government’s expert) is wrong about street values and

distribution”, but the witness(es) provide(s) no basis for such conclusion, nor any opinion of

what these experts believe is the “correct” or accurate street value and means of distribution.

Moreover, no expert will testify that another’s opinion “is speculative and based upon unreliable

methodology”, as such assessment is the task of the Court on pretrial motion, or the jury if such

opinions are admitted. The other two “opinions” identified by defense counsel are not opinions

at all - “[r]egarding identification and specification of firearms and place of manufacture” and

“[r]egarding the testimony of John Palm.” No opinion, no qualification to render such opinion,

and no basis for any opinion are recited at all. Notably, Defendant provided nothing more to the

Government than stating that these experts will refute the testimony of the Government’s

experts. The Court concludes that such description is insufficient. Further, Mr. Leonard’s

resume (See Exhibit C to Rec. Doc. 147) fails to reveal that he has any expertise whatsoever in

drug slang, the drug trade, or in drug transactions. Thus,

       IT IS FURTHER ORDERED that, within 72 hours of this Order being docketed in the

record of this case, Defendant shall supplement its description of the expert’s expected testimony

by providing the expected opinions as to the following matters:

       a) street values and packaging for distribution, interpretation of drug code and slang;

       b) identification and specification of firearms and place of manufacture; and

       c) the testimony of John Palm.

(See Exhibit A to Rec. Doc. 147). Defendant has to also provide the general substance of the

expected testimony, including the basis for the disagreement with the testimony of the


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    Case 2:09-cr-00177-ILRL-ALC          Document 174        Filed 05/25/10   Page 3 of 3




Government’s experts.

       IT IS FINALLY ORDERED that, if necessary after such supplementation, the Court

may have a Daubert hearing outside of the presence of the jury.

       New Orleans, Louisiana, this 25th day of May, 2010.




                                                   KURT D. ENGELHARDT
                                                   United States District Judge




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